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Expert Report of Lance G. Morgan

Court: United States District Court — Eastern District of Virginia

Case Number: 3:17 cv 461
Case Name: Lula Williams et al., Plaintiffs, vs Big Picture Loans, et al., Defendants

Date: January 10, 2019

I. INTRODUCTION

A. Qualifications

1.

My narne is Lance Gregory Morgan, I am the owner of Lance Morgan Consulting,
a tribal legal and business consulting firm with offices in Winnebago, NE.

I am also the CEO and founder of Ho-Chunk, Inc., a tribal economic development
corporation owned by the Winnebago Tribe of Nebraska, and an owner and the
managing partner of Fredericks, Peebles, & Morgan, a national tribal law firm, and
an adjunct professor of tribal economic law at Arizona State Law School.

The statements herein are my own and do not reflect the positions of the
institutions with which I am affiliated.

I hold a Bachelor of Science Degree in Economics from the University of
Nebraska, Lincoln, and a Juris Doctorate from Harvard Law School. | specialize
in economic and legal development of tribal government and tribal corporations,
with an emphasis on tribal corporate structures, economic development strategy,
and tribal socio-economic development strategy.

In the course of my professional experience, I have examined, consulted and
provided legal advice in areas relating to tribal corporate development, tribal
corporate structures, tribal corporate legal matters and tribal socio-economic
development projects and strategies.

In the course of my professional experience I have given dozens of speeches at
local, regional and national events relating to tribal law and tribal corporate
development. J have delivered in person testimony to the U.S Senate Committee
on Indian Affairs on three occasions relating to tribal economics, tribal
government contracting and tribal internet issues and opportunities. I have also
provided policy guidance to the White House Domestic Policy Council under
President Barack Obama on government contracting, tax laws and regulatory
impediments, and economic development opportunities for tribal governments.

I also served on the Consumer Advisory Council to the Federal Reserve Board
where I advised the Federal Reserve Board on several financial issues related to
Indian Country and tribal consumers.

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8.

I am an enrolled member of the Winnebago Tribe of Nebraska.

9, My qualifications are attached hereto as Appendix C.

B. Purpose of Analysis

1.

How do the Service Agreements! and Sales Agreement? compare to other tribal
corporate structures, strategies, and operational and financial partnering
relationships?

How does the breakdown of responsibilities between the tribal lending entities and
their business partners involved in this case compare to the breakdown of
responsibilities between tribal businesses and their business partners in other
emerging tribal industries?

Was it rational for the Lac Vieux Desert Band of Lake Superior Chippewa Indians
(“Lac Vieux Desert Band” or “Band” or “Tribe’’) to enter into the Service
Agreements?

4. Was it rational for the Lac Vieux Desert Band to enter into the Sales Agreement?

C. Methodology and Basis for Opinion

I.

I.

1.

In this report, I have reviewed filings, depositions, affidavits and various
transactional documents related to this case. I have also referenced various federal
statutes, regulations, court judgments, books, internet research, law review articles
and U.S. Senate testimony regarding the subject. I am also relying on 25 years of
professional experience as a tribal lawyer, tribal business executive and a tribal law
professor. Documents relied upon are cited herein and/or in the list attached hereto
as Appendix A and Appendix B.

Summary of Expert Opinion

Based on my professional experience and the reasons set forth in this opinion, the
Servicing Agreements and the Sales Agreement are similar to other tribal corporate
structures, strategies, and operational and financial partnering relationships.

1 Sec Appendix A; Amended and Restated Servicing Agreement between Red Rock Tribal Lending, LLC
and Sourcepoint VI, LLC; the Servicing Agreement between Big Picture Loans, LLC VI, LLC; and the
Intratribal Servicing Agreement Between Big Picture Loans, LLC and Ascension Technologies, LLC.

(collectively the “Service Agreements”).
* See Appendix A; Agreement and Plan of Merger between LVD Tribal Acquisition Company, LLC and

Bellicose Capital, LLC and Eventide Credit Acquisitions dated October 7, 2015, (“Sales Agreement”)

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2. Based on my professional experience and the reasons set forth in this opinion, the
breakdown of responsibilities between the tribal lending entities and their business
partners involved in this case share many similarities to the breakdown of
responsibilities between tribal businesses and their business partners in other
emerging tribal industries.

Based on my professional experience and the reasons set forth in this opinion, the
Service Agreements represent a rational approach from the Lac Vieux Desert
Band’s perspective to business development.

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4. Based on my professional experience and the reasons set forth in this opinion the
Sales Agreements represent a rational approach from the Lac Vieux Desert Band’s
perspective to business development and long-term growth.

I]. = Background and Support for Opinion

A. The United States adopted destructive policies aimed at forced assimilation of Native
Americans and dispossessing them of their homelands. As a result of these misguided
policies, tribes had sunk deep into a cycle of poverty. Because of generational poverty
and the remote areas in which they are located, tribes lacked a variety of general
business and industry specific skills sets to implement many tribal economic
development initiatives. To address these skills gaps, the federal government adopted
and implemented several statutory, regulatory and policy initiatives that authorized
tribal involvement with non-tribal industry specific expertise and capital. These
federal policies and programs anticipated that tribes would eventually evolve and
progress beyond the need for outside expertise and capital, and the various programs
and policies were structured and incentivized accordingly.

B. General Economic Conditions

1. Tribal poverty has its roots in federal policy, federal Indian law and in the federal
trust land system. In combination, these issues have ensured that most tribes
would struggle with poverty and all of the social problems associated with poverty.
Tribes function in a highly restrictive environment where federal approvals are
required to conduct the simplest business transactions on tribal land and the
inability to collateralize or tax tribal trust land compounds the obstacles tribes face
when working to achieve economic growth. Tribes continue to seek legal methods
to avoid or work with these restrictions to attain economic success.’

2. In my professional experience, these restrictions often combine to make it very
difficult to attract investment capital on rural economically depressed reservations

3 Oversight Hearing on Economic Development in Indian Country; Hearing Before the Senate Indian
Affairs Comm. 109" Cong, 2" Sess. 115-116 (2006) (statement of Lance Morgan, CEO, Ho-Chunk

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and will often require the tribe to make considerable concessions in order to
stimulate their local economies.

C. Self Determination Era

1. After alternating between federal policies related to tribes that ranged from
termination of tribal status to promoting tribal self-governance, federal policy
shifted in the late 1960s and early 1970s to policies that support tribal self-
determination. This period is generally referred to as the Self-Determination Era.*
The Self-Determination Era includes policies that:

a) Recognize the distinct status of tribal governments;

b) Support tribal self-determination;

c) Support tribal self-government;

d) Support tribal economic development; and

e) Support tribal self-sufficiency.

D. Tribes are Encouraged to Enter into Business by the Federal Government
i. The tribal self-determination cra began a process of fighting tribal poverty with

tribally led economic development. As a result, tribes were encouraged by the
federal government to create their own jobs and income by creating tribal
businesses in order to create more flexible discretionary income:

a. A large portion of a tribal government’s budget often consists of federal or
state funding which are typically restricted to very specific uses. This is
especially true with tribes who have few financial resources.

b. A tribe can use funds generated by its business activities in a completely
discretionary manner. Tribes generally create economic entities in order to
generate discretionary income. These discretionary funds are important to a

tribe because they enable the tribe to impact their community in any manner
they deem appropriate.

* American Indian Lawyer Training Program, Indian Tribes as Sovereign Governments: A Sourcebook on
Federal-Tribal History, Law. and Policy. (2 ed. 1991); Stephen Cornell, The Return of the Native:
American Indian Political Resurgence. (1988); David E. Wilkins, American Indian Politics and the

American Political System. (3 ed. 2002).
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2. Generational poverty and a lack of a consistent tribal tax base left the Wibes with
little investment capital and limited business experience. These factors created a
pattern of failure for the initial wave of tribal business development.>

3. The legal, regulatory, and jurisdictional problems related to tribal economic
development combined to make attracting investment capital very difficult.
Investment capital simply bypassed most reservations that lacked natural resources
or prime locations for gaming or real estate development.

4, Tribes adapted their approach to business development by creating more
sophisticated corporate entities, innovative regulatory structures and using federal
programs to partner with non-tribal entities to gain access to capital and industry
specific knowledge.

5. The tribal strategy of partnering with non-tribal entities has become the norm in a
wide range of business and development initiatives. These partnerships often
result in some restrictions on tribal activity or significant portions of the
management of the operations being outsourced to the partner.

6. As tribes develop their level of knowledge and capital, they often eliminate the
need for partnering with non-tribal entities so that they can maximize income to
fund the tribe’s overall social development goals. This pattern has been repeated
in gaming, government contracting and federal tax credit programs. Tribal lending
is following the exact same path and tribes are in the midst of evolving into the
stage where the need for non-tribal partners is being limited or eliminated.

FE. IGRA, Indian Gaming Management Contracts, and The Evolution of the Tribal
Gaming Industry

1. Congress passed the Indian Gaming Regulatory Act of 1988 (“IGRA”)® to promote
tribal economic development but anticipated that tribes would lack initial
management expertise and in some cases access to capital to establish gaming
operations. IGRA established a set of rules authorizing tribes to enter into gaming
management contracts with non-tribal entities. IGRA anticipated that all
management and accounting functions would be performed by the management
company, established procedures for minimum guaranteed payments to the tribe,
and established terms of 5 to 7 years for the initial management contracts. IGRA
also anticipated that large portions of the net revenues of the gaming operation
could be allocated to the management company as a fee for their management and
compensation for providing the initial capital and financing.

2. Congress explicitly intended to advance several goals with IGRA, inter alia:

* See Oversight Hearing on Economic Development in Indian Country: Hearing Before the Senate Indian
Affairs Comm. 109" Cong. 115-116 (2006) (statement of Lance Morgan, CEO Ho-Chunk, Inc.
° Indian Gaming Regulatory Act (IGRA), 25 U.S.C. § 2701 et. seg. (1988).

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a) “to provide a statutory basis for the operation of gaming by Indian tribes
as a means of promoting tribal economic development, self-sufficiency
and strong triba] governments”; and

b) “to protect such gaming as a means of generating tribal revenue.””
3. Federally Approved Indian Gaming Management Contracts;

a) “The Chairman (of the National Indian Gaming Commission) may
approve any management contract entered into pursuant to this section
only if he determines that it provides at least: ®

1. for adequate accounting procedures that are maintained, and
verifiable financial reports that are prepared, by or for the tribal
governing body on a monthly basis;?

2. for access to the daily operations of the gaming to appropriate tribal
officials who shall have a right to verify the daily gross revenues and
income made from any such tribal gaming activity;!°

3. fora minimum guaranteed payment to the Indian tribe that has a
preference over the retirement of development and construction
costs;"!

4. for a contract term not to exceed five years, except that upon the
request of an Indian tribe, the Chairman may authorize a contract
term that exceeds five years but does not exceed seven years if the
Chairman is satisfied that the capital investment required, and the
income projections for the particular gaming activity require the
additional time.”!”

b) IGRA expressly authorizes tribes to enter into agreements where large
portions of the net revenues of the gaming operation are shared with the
management company:

I, The Chairman may approve a management contract providing for a
fee based upon a percentage of net revenues of a tribal gaming
activity if the Chairman determines that such percentage fee is
reasonable in light of surrounding circumstances. Except as

725 U.S.C. § 2702 (1988).

825 U.S.C. § 2711(b) (1988).
925 U.S.C. § 2711(b)(1) (1988).
1995 U.S.C. § 271 1(b)(2) (1988).
125 U.S.C. § 2711(b)(3) (1988).
1225 U.S.C. § 2711(b)(5) (1988).

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otherwise provided in this subsection such fee shall not exceed 30
percent of the net revenues.?*

2. Upon the request of an Indian Tribe, the Chairman may approve a
management contract providing for a fee based upon a percentage of
the net revenucs of a tribal gaming activity that exceeds 30 percent
but not 40 percent of the net revenues if the Chairman is satisfied that
the investment required and income projections, for such tribal
gaming pay require the additional fee requested by the Indian
Tribe.”

c) Tribal governments rapidly developed their gaming knowledge base and
after the initial management contracts expired most tribes did not renew
the management agreements and took over direct control of managing
their gaming operations, which increased the tribe’s income."*

1. Example: As a tribal lawyer and business professional I was involved
in the start-up of several tribal gaming operations. A typical tribe
might have little to no gaming experience, and therefore, would enter
into a federally approved gaming management contract with a non-
tribal management company for 5 to 7 years. During the management
contract period, the management company would receive the rights to
a significant portion of the net profits of the tribal casino. The
management company would generally plan, build, and arrange
financing for the casino. The tribe’s role would include regulating the
casino and approval responsibilities over certain operational aspects
of the gaming facility. Subject to the tribe’s regulatory oversight and
approval authority, the management company was responsible for
almost all aspects of the management of the casino including: hiring,
marketing, accounting, and arranging any additional financing needed
to operate the facility or purchase equipment.

2. During that management contract period, the typical tribe learned as
much as it could about gaming in general, developed its own
operational knowledge, accumulated capital, and created its own
business relationships in the gaming industry. This tribal learning
curve was steep, but most tribes learned enough that they did not
renew the management contract with the non-tribal entity beyond the
initial period. '®

325 U.S.C. § 271 1(c)(1) (1988).
425 U.S.C. § 271 1(c)(2) (1988).
'S See Approved Management Contracts, nigc.gov, bttp:/Avww.nige.pov/tinance/approved-management-

contracts (last visited January 6, 2019).
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3.

The tribes made a conscious and rational choice to hire a management
company and pay the fees associated with it because they did not
have the required knowledge and capital to enter the gaming business.
The tribes were heavily incentivized to learn how to manage their
own casinos because tribal gaming profits were increased
substantially by not renewing the management company contract.
These increased profits allowed the tribe to have an even larger
positive social impact in their communities.

Once a tribe had gained enough gaming knowledge, they were able to
function without the non-tribal company and operate, control, and
regulate every aspect of their own casinos. This evolutionary pattern
of rapidly building a tribal gaming knowledge base while working
with a non-tribal company and then eventually taking complete
control of their own tribal gaming operations was done repeatedly in
Indian Country.

Rick Gerber, the CEO of Chippewa Valley Bank and a tribal member
of the Lac Courte Oreilles Tribe, offers his perspective as a banker
with substantial experience working with tribes. In his deposition he
was asked about tribes using third party servicers in other industries
and his understanding related to why they would utilize third party
servicers. He responded: “... 1 am not aware that any presently do. I
know when they — the majority of them first started their casinos, they
used third—third party—third parties to help them get their casinos
established. I think all of them at that point in time did, yes... Well
originally, they did not have the expertise, so they would—they
would engage—sign contracts, whether it would be three, five, ten
years for that management . . . those management services, yes.”

Rick Gerber was asked in his deposition whether any of the tribal
lending entities he was familiar with had entered into similar
relationships and why would they have third party management firms
he responded: “T think all of the Tribal lending entities that-that we
have, have third-party management firms, yes. . . I would be guessing
a little bit because I have never drilled down to it like I did at the
casinos, but I know that initially, in discussions with tribes, they did
not have the expertise . . .”!8

F, Government Contracting Structures and the Evolution of the Tribal Government
Contracting Industry

Y Oral and Videotaped Deposition of Rick Gerber, Luta Williams, et al. v. Big Picture Loans, et al. Civil
Case No. 3:17ev461; p. 20-21, United States District Court for the Eastern District of Virginia. Richmond

Division. December 17, 2018.

'8 Td at p.21.

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1. Federal contracting opportunities for tribal entities have had major positive
impacts on tribal communities by stimulating the economies of some of the poorest
communities in the country. The federal contracting programs enable tribes to
create jobs and corporate income, which are used to address the array of socio-
economic issues of tribal communities. !°

2. In the1980’s, the U.S. Congress amended the Small Business Act of 19587°
authorizing the Small Business Administration (SBA) to certify certain tribal
corporations as SBA 8a businesses (“Tribal 8a”). The Tribal 8a business
development program authorizes several contracting preferences with the federal
government and its agencies for certified Tribal 8a entities.”!

3. When the federal government authorized tribally owned corporations to enter into
the government contracting business it also anticipated that the tribes would need a
variety of expertise to succeed and authorized tribal corporations to participate in a
variety of contracting programs designed to give the tribal entities extraordinary
help in fulfilling the contracts. However, most of the federal programs had limited
time frames with the goal of allowing tribes to gain expertise and progress down
the path of eventually not needing the specialized SBA partnering programs.

4. Limited Time Frame of the Tribal 8a Program

a. Once a tribal company achieves Tribal 8a status, it can remain in the program
for up to 9 years and then it will graduate and be expected to compete ina
more competitive market.””

b. Tribes are unique in the SBA 8a program. They are the only entities
authorized to form more than one SBA 8a corporation. The SBA 8a program
was designed to help individuals in a disadvantaged group. However, tribes
generally represent such large numbers of disadvantaged individuals that it
was rational to change federal policy allowing tribes to create multiple Tribal
8a entities, each with a 9-year term.””

5. SBA Mentor/Protégé Program

a. The SBA Mentor/Protégé Program is a business development program that
allows a certified Tribal 8a small business (Protégé) with limited knowledge

'? Johnathon Taylor, A Report on the Economic, Cultural and Social Impacts of the Native 8(a) Program,
Native American Contractors Association Report (2012).
20 Small Business Act 15 U.S.C. 637(a).
2! Promised Fulfilled: The Role of the SBA 8(a) Program in Enhancing Economic Development in Indian
Country. 112" Cong. 1 Sess. p. 19 Attachment A (2011) (Statement of Lance Morgan, Chairman of the
Native American Contractors Association).
2 See 13 C.F.R. 124.109(e)(3 (iii).
713 C\F.R. 124.109 (e)(3)(iii).

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and capacity to work with a larger business (Mentor) with more capacity and
knowledge to help the small business with the following”:

A.

Guidance on internal business management systems, accounting,
marketing, manufacturing, and strategic planning;

Financial assistance in the form of equity investments, loans and
bonding;

Assistance navigating federal contract bidding, acquisition, and
performance process;

Education about international trade, strategic planning and finding
markets;

Business development, including strategy and identifying contracting
and partnership opportunities; and

General and administrative assistance, like human resource sharing
and security clearance support.

b. The first term of the mentor-protégé agreement may last up to three years and

may be extended for another three years for a total term of 6 years.

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6. SBA Joint Venture Agreements

a. The SBA allows a certified Tribal 8a business that has an approved mentor-
protégé agreement to form joint ventures with other small business concerns
for the specific purpose of performing one or more specific SBA 8a
contracts”®

b. A joint venture agreement is permissible only when the Tribal 8(a) concern
lacks the necessary capacity to perform the contract on its own, and the
agreement is fair and equitable and will be of substantial benefit to the Tribal

8a concern.

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7. SBA Teaming Agreements

413 CFR 124.520.

2513 CFR. 125.520 (e)(5).
26 13 C.F.R 124.520 (d).
2713 CFR. 125.513.

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a. Allow Tribal 8a corporate entities to affiliate with other small businesses or
even large corporations for the purpose of jointly pursuing a particular federal
contract,**

8. SBA Policy Change Acknowledging Limited Tribal Capacity

a. Prior to a regulatory change in 2004, tribes were essentially blocked from
forming holding companies focused on government contracting because the
SBA included all of the revenue from the other tribal subsidiaries of the tribal
holding company when determining whether or not the company applying for
the SBA 8a status was considered small. 7?

b. A criticism of the existing policy was advanced in an administrative hearing
explaining the tribes had limited existing knowledge, capital and business
expericnce and that tribal holding companies were key to advancing the
federal government’s goal to help tribes emerge from poverty because it
allowed tribes to pool their limited pools of capital and knowledge.°”

c. The ruling limiting tribal holding companies was specifically overturned to
allow the revenue of other tribal subsidiaries to be excluded from the size
eligibility determination for a tribal entity applying for 8a status.*!

d. The policy change has resulted in a new business model for tribes. It allowed
tribal holding companies to continually form new entities in the government
contracting industry that use the partnership options of SBA 8a programs.
This change has enabled tribes to continue the cycle of using the relationships
developed from the various SBA partnering programs to gain knowledge,
bonding, capital and income to positively impact their socio-economic
status,

9. Example: A Typical Evolutionary Approach to Tribal Partnering in Government
Contracting

a. As the CEO ofa tribal company engaged in government contracting and as
the former Chairman of the Native American Contractors Association, I have
significant experience in how tribes approach government contracting.

b. Partnering is one of the primary keys to the initial success for tribal companies
involved in government contracting. Tribal companies will often lack the
necessary past performance to be awarded a particular contract. Therefore,
the tribe must utilize the government’s Mentor/Protégé Program, Joint

2813 C.F.R 125.2.

2” See 13 CFR. 109 (c)\(2\(iii).

© Size Appeal of HCI Construction, Inc. SBA No. Siz-4460 (2001).
3113 CER 124.109 (c)(2)(iii).

* See 13 C.F.R. 124.109(e)(3)(iii).

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Venture Agreements, or Teaming Agreements (collectively “Partnering
Programs”) to complete for certain contracts.??

c. The Partnering Programs give a benefit to each party. The tribe gains the past
performance of the non-tribal partner and the non-tribal partner can take on
the mantel of tribal status for purposes of a particular contract.

d. During the contract period, the non-tribal partner will often have direct
operational responsibilities over several aspects of the contracts.

ce. The Partnering Programs allow the non-tribal partner to provide assistance
with general management decisions, accounting, human resources, business
development, and strategic planning.

f. The Partnering Programs allow for the non-tribal entities to provide equity
investments, bonding assistance, and loans to the tribal company.

g. These Partnering Programs are all limited in terms of time or revenue because
the goal is to have the tribal entity gain enough experience to not need the
Partnering Programs to be successful in the future.

h. The tribes also have strong financial incentives to not utilize the Partnering
Programs once they have gained expertise. The Partnering Programs require
that they share the profits with the non-tribal entity. Utilizing one of the
Partnering Programs is a rational choice for a tribal company entering into a
new business because it often lacks the necessary experience and past
performance to be awarded the contract. However, after completion of the
contract or the Partnering Program, the tribal entity will officially have the
necessary past performance to pursue contracts without their current partner.
Any new contracts will likely be more profitable to the tribal entity because
they will not have to share the profits with any partners. This process can take
1 to 9 years, depending on the length of the contract, Partnering Program, or
the SBA 8a certification period.

i. Tribal companies involved in government contracting have repeatedly used
the Partnering Programs to gain the necessary past performance to pursue
contracts without any partners in the future.

J. The profits from government contracting and the increased profits from no
longer needing to partner with non-tribal entities allows the tribal company to
help positively impact the tribe’s socio-economic goals for its membership.

*3 See Ahne Minge & Andrew Twite, The Impact of Surety Bonding on American Indian and Tribally
Owned Contractors, p. 5-6, Federal Reserve Bank of Minneapolis Community Development Report no

2014-1 (2014).

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G. Similarity to Tribal Gaming, Tribal Government Contracting and Tribal Lending

1. The Sales and Service Agreements together position the Band to utilize a common
business development technique in other tribal industries. As illustrated by the
earlier examples in tribal gaming and tribal government contracting, the tribes used
their partnership relationships to gain experience, knowledge and capital. After
gaining the necessary knowledge, the tribes no longer needed a partner and were
able to increase their profitability by eliminating the need for a partner. The
increased profits are key to fulfilling the Band’s socio-economic goals for its
membership.

2. This pattern of tribal development has proven to be very successful with various
tribes and the Band’s lending development efforts seem to be following the same
pattern used by other tribes in other industries to create, partner, learn and then
totally control the business. The following depositions and affidavits express the
tribe’s intent:

a. Inan Affidavit by long term tribal council member and tribal Icending
company manager, Michelle Hazen, she stated that “In order to learn the
lending industry, Red Rock contracted with Bellicose VI, LLC for vendor
management services, compliance, management assistance, marketing
material development, and development of risk modeling and data
analytics.”*4

b. Michelle Hazen further explained in her affidavit why the tribe wanted to
acquire its non-tribal partner: “After four years of operating Red Rock, LVD
[the Band] had gained considerable experience and knowledge of the online
lending industry. LVD looked to expand its online lending business to earn
more money for LVD, to employ more members and area residents, and to
acquire our vendors’ business so the lending would be more profitable.”

c. James Dowd, an employee and part owner of Bellicose Capital, responded in
his deposition to the question of why the Band’s company would open an
office in Atlanta: “The Tribe had expressed a priority that they wanted to
reduce their reliance on third-party vendors . . . to try and build a more holistic
... business for themselves so that they could execute on some of the goals
that they have for the business. . .”°°

* Affidavit of Michelle Hazen. Lula Williams, et al. v. Big Picture Loans, et al. Civil Case No.
3:17cv461; no. 10, United States District Court for the Eastern District of Virginia. Richmond Division.
September 28th, 2017.

33 Td, at no, 13.

* Oral and Videotaped Deposition of James Dowd. Lula Williams, et al. v. Big Picture Loans, et al. Civil
Case No. 3:1 7cv461; p. 102-3, United States District Court for the Eastern District of Virginia. Richmond

Division. November 13, 2018.
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d. James Williams, Jr., the Band’s elected tribal chairman, when asked in a
deposition how the Band’s purchase of the SourcePoint and Belllicose fit into
the Tribe’s long-term goal for economic development responded, “. . . it’s a
depressed area and really looking at what this business is capable of doing for
the Tribe, for our future generations to come and looking at, you know, pro
formas and how well our business is doing, . . . it’s the focus of our future. . .
It’s everything that we have been looking for to take care of our Tribe for
years to come and it’s something that’s very successful. . . those are the things
that we want to provide for our community and our business, the way its
structured and the way it is looking now is going to do that for us.”3”

3. In my professional opinion, the Band’s lending business was following the same
evolutionary path as most tribal gaming and tribal government contracting
businesses. The Sales Agrecment represents the Band’s effort to manage all
aspects of its business operations without the need for a partner. This lawsuit was
filed approximately 1.5 years after the Band entered into the 7-year Sales
Agreement. The lawsuit attempts to create a static snapshot in time of the business
and was filed while Band was in midst of evolving into an entity that managed all
aspects of its business operations.

a. The Service Agreements and Sales Agreement need to be read in conjunction
with each other with an understanding that they represent an obvious business
evolutionary strategy to eventually maximize the Band’s economic and social
self-interest.

H. Tax Credit Structures

1. Tribes have substantial experience structuring companies and development
projects using tax credit projects. Tribes are not able to capitalize on most tax
credits directly because they are exempt from federal income tax.** Therefore, the
non-tribal investor must retain a primary ownership interest in the development
entity to incentivize capital investment in Indian Country. The number of years
the non-tribal investor and/or developer must retain the primary ownership interest
depends on the type of tax credit, however, in most instances the tribe or tribally
affiliated entity will eventually gain full ownership and control of the project or
development entity.*”

2. Renewable Energy Tax Credits and Accelerated Depreciation

7 Oral and Videotaped Deposition of James Williams, Jr., Lula Williams, et al. v. Big Picture Loans, et
al. Civil Case No. 3:17cev461; p, 200-201, United States District Court for the Eastern District of Virginia,
Richmond Division. November 13, 2017.

58 26 U.S.C. 7871.
*? See Douglas McCourt, Renewable Energy Development in Indian Country: A Handbook for Tribes,

Project for the National Renewable Energy Laboratory, pp. 27-28, 33, 73, 75-81 (June 2010 ed.)

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a. Tribes often partner with a non-tribal renewable energy developer who can
use the federal tax credits and when available can also use the accelerated
depreciation directly or in partnership with its investors. The non-tribal
developer also brings expertise and capital to the project.”

b. When developing renewable energy projects, the tribe can negotiate upfront
ownership rights, or may choose to delay eventual ownership rights until after
the tax credits and accelerated depreciation are fully utilized in order to
maximize their financial impact for the project investors,*!

c. Some renewable energy federal tax credits are for 10 years and this structure
requires that the tribal project be owned by the non-tribal entity during the
active period of the tax credits.

d. During the period when the tax credits are active, a large percentage of the
economic value of the projects inures to the non-tribal developer and/or its tax
credit investor.” Often the primary way a tribe will receive income is from a
fixed land lease payment where the renewable project is located.4

3. Low Income Housing Tax Credit Deal Structures

a. The federal government issues low income housing tax credits (“LIHTC”).
Tribes can compete for the LIHTC tax credit allocations at the state level.
However, because tribes are federally tax-exempt entities only outside
investors are incentivized to buy these tax credits. The investors may own up
to 99 percent of a tribal project for the 10-year period of the tax credits. After
the 10-year period, the investors typically transfer their equity interest back to
the tribal entity.

4. New Market Tax Credit Deal Structures

a. New market tax credits (“NMTC”) help attract investment in economically
distressed areas. Tribal reservations automatically qualify as distressed areas.
In order to maximize the financial impact, the NMTC investors will typically
own up to 99 percent of the tribal project for the first 7 years. After the 7-year
compliance period, the tribe will typically take over ownership of the entire
project.*®

40 Id

4V Id. at 32-42, 80-82.

” Td. at 75-81.

43 Td. at 80-82.

4 Td. at 26-27, 58-60.

‘3 Low Income Housing Tax Credits 101, Travois, Inc. (2013). Retrieved October 28, 2018
http://www.travois.com/wp-content/uploads/2013/09/LINTC 101 pdf.

© See 26 U.S.C. 45d.

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I. Internet Changes the Economic and Legal Environment

1. Tribes and states are competing sovereigns with overlapping jurisdictions and as a
result have a long history of conflict relating to criminal and civil regulatory
authority, jurisdiction, and taxation matters.*”

2. The emergence of the Internet has allowed tribes to avoid efforts by state
governments to assert indirect control over tribal economies.”

3. States do not generally have the legal authority to directly regulate tribal
governments or tribal corporations opcrating within a tribe’s jurisdiction. States
have instead developed a system of asserting indirect control over business
transactions on tribal land by focusing their statutes, regulations, enforcement
efforts, and tax collection on entities who enter business partnerships with tribes.
States often use strong-arm tactics and threaten these entities who are mostly non-
Indians with various enforcement actions. These tactics can legally and
economically isolate tribes from the normal stream of commerce and has the effect
of indirectly allowing the states to impose their will on tribes.”

4. Tribes can and do form their own Internet companies and regulatory systems under
tribal law. Since both the tribes and the tribally owned companies also have the
protection of sovereign immunity and cannot be sued directly by the states or
others, E-commerce has afforded tribes the opportunity to be aggressive and
expand the scope of their economic development efforts.*° This is not an attempt
to use tribal sovereign immunity to violate state law. On the contrary, when used
in this context, tribal sovereign immunity is used to protect and empower tribal
economic and regulatory expansion.

5. The evolution of the Internet has also largely upset the states’ ability to assert
indirect control over tribes because it allows the tribes to avoid the regulatory and
taxation hurdles the states have erected to limit the tribes access to partners, capital
and the general stream of commerce.”!

4? Kelly Croman & Johnathon Taylor, Why Beggar Thy Indian Neighbor? The Case for Primacy in
Taxation in Indian Country, Joint Occasional Papers on Native Affairs, 2016-1, p. 3-4. (2016).

48 Lance Morgan, The Rise of Tribes and the Fall of Federal Indian Law, 49 Ariz. St. L.J. 115, 132-135,
(2017); Internet Infrastructure in Native Communities: Equal Access to E-Commerce, Jobs and the
Global Marketplace: Hearing before the S. Indian Affairs Comm. 112" Cong. p. 37-39 p. 40-41 (2011)
(Statement of Lance Morgan).

“° |ance Morgan, The Rise of Tribes and the Fall of Federal Indian Law, 49 Ariz. St. LJ. 115, 120-123,
(2017).

° fd. at 37, 41.
5! Internet Infrastructure in Native Communities: Equal Access to E-Commerce, Jobs and the Global

Marketplace: Hearing before the S. Indian Affairs Comm. 112" Cong. 37-39 p. 40-41 (2011) (Statement

of Lance Morgan, CEO Ho-Chunk, Inc.).
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6. Tribes have always had business partners when they participate in the normal
stream of commerce. While states can exercise authority over the tribe’s business
partners when they operate on non-tribal land and within a state’s jurisdiction,
tribal internet partners are not generally located within the local state’s jurisdiction.
Therefore, the states and other parties involved have developed other approaches
to disrupt business partnerships in Indian Country, which includes delegitimizing
these partnerships, which help explain the origin of the term: “Rent a Tribe.”

7. The states and some courts have further reacted to the tribal E-commerce efforts by
pursuing enforcement actions against tribal internet business partners. These
enforcement actions seem calculated to reestablish the system of indirect control of
the tribes and their internet business activities on tribal lands.**

8. In my professional opinion, the tribes are not “renting” out their status or
regulatory jurisdiction. The tribes themselves are doing the “renting.” The tribes,
just like states routinely do, exercise their inherent sovereign powers to create a
favorable regulatory environment to attract business and create a favorable
environment for their own tribal corporations. However, these tribal entities need
to develop their expertise and capital, and therefore, it is figuratively more accurate
to state that the tribes are, “Renting Non-Tribal Expertise and Capital,” instead of
renting out themselves under a “Renting a Tribe model.” Tribes typically continue
to utilize partnerships until they reach a point where they can maximize their own
profitability by limiting or completely eliminating the need for a business partner.

J. States Use Civil Regulatory Authority and Sovereign Immunity to Create Economic
Incentives and Protect their Economic Interests.

1. Tribes have civil regulatory authority over their own territory and sovereign
immunity and like state governments utilize these powers creatively. Since the
tribal self-determination cra, the use of these two governmental powers in
conjunction with each other has become an expansive area of tribal law and
increasingly has been used to create and protect economic opportunities for tribes
in areas related to gaming, taxation, insurance, lending and creating friendly
regulatory environments to attract jobs and capital.

2. States, often in direct competition with each other, commonly use their civil
regulatory authority to incentivize investment in areas related to gaming, corporate
formation, taxation, insurance, and lending. The following are a few examples:

*? See Class Action Complaint; Lata Williams, et atv. Big Picture Loans, et al. Civil Case No.
3:17cv461; United States District Court for the Eastern District of Virginia. Richmond Division. July 22,
2017.

? See Id. At 37-38, 41.
“Lance Morgan, The Rise of Tribes and the Fall of Federal Indian Law, 49 Ariz. St. L.J. 115, 120-121,

(2017).
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a. Usury Laws: In Marquette National Bank of Minneapolis v. First of Omaha
Service Corp., 439 U.S. 299 (1978), the U.S. Supreme Court ruled that state
anti-usury laws regulating interest rates cannot be enforced against nationally
chartered banks based in other states. This ruling allowed credit card
companies to essentially “export” the rates allowed in their home states to
customers in other states.

A. In response to the ruling in the Marquette case, the State of South
Dakota abolished its usury law to attract national banks with credit
card operations to the state,**

B. In 1981, in response to South Dakota’s actions, Citibank moved its
credit card operations to South Dakota and now has approximately
2,900 employees in the state and the financial services industry is one
of the largest employers in the state.

C. According to the U.S Census Bureau, South Dakota had a per capita
income of $27,516 in 2016. However, according to the Federal
Deposit Insurance Corporation, South Dakota holds over $2.5 trillion
in bank assets, the most of any state in the country and approximately
$3 million per resident of South Dakota,°® which is illustrative how
successful the state’s efforts have been at attracting the credit card
industry and its financial assets.

D. In 2010, First Premier, a national bank in South Dakota, legally
issued a credit card for high risk borrowers with an annual percentage

rate of 79.9 percent.*”

b. Property Tax: States commonly offer property tax incentives in the form
waivers, discounts or tax increment financing.*®

A. Tribal trust land is generally not subject to property tax, and
therefore, tribes will often market their lack of property tax as an
economic development incentive, which is similar to state efforts to
offer property tax incentives.”

* Amy Sullivan, How Citibank Made South Dakota the Top State in the U.S. for Business, The Atlantic,
July 10, 2013, bitps://www.theallantic.com/business/archive/20 13/07/how-citibank-made-south-dakota-
the-lop-state-in-the-us-for-business/425661.

° Id. (est. population of 833,000 in 2013; $2,500,000,000,000/833,000 = $3,001,200.00).

5? Connie Prater, Issuer of 79.9 % Interest Rate Credit Card Defends its Product, CreditCard.com,
February 12, 2010. hitps://www.credilcards.com/credil-card-news/first-premicr-79-rate-credit-card-
1265.php#.

8 Rethinking Property Tax Incentives for Business, Policy Focus Report/Lincoln Institute of Land Policy,
(2012).

* Oversight Hearing on Economic Development in Indian Country: Hearing Before the Senate Indian
Affairs Comm. 109" Cong. 115-116 (2006) (statement of Lance Morgan, CEO Ho-Chunk, Inc).

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Cc,

Corporate formation: The stale of Delaware is a haven for corporate
formation because of ease of formation and a well-defined legal structure and
accommodating tax rules. This creative use of state civil regulatory authority
and jurisdiction is widely accepted and provides an economic boost for the
State of Delaware, which has more corporate entities than people. In 2011,
Delaware collected more than $860 million in taxes and fees from its absentee
corporate residents, or approximately 25 percent of the annual state budget.

A. Tribes, just like states, have increasingly chosen to create their own
corporate codes, regulatory systems and courts to create a corporate
regulatory system that takes full advantage of their unique tribal
status.

Gaming: Nevada long ago exercised its civil regulatory authority as a
sovereign entity to authorize casino gaming as an economic development tool
and the majority of states have similarly authorized casinos while states like
Utah and Hawaii have exercised their governmental authority and chose not to
authorize casino gaming. It is simply the choice of the local government to
participate in gaming or not.

3. Sovereign Immunity: States routinely protect their economic, legal and taxation
interests by claiming Sovereign Immunity, including against tribal interests.

a. Gaming: In 1988, Congress pass the Indian Gaming Regulatory Act, which

required that states negotiate in good faith with tribes to enter into gaming
compacts.®! It also authorized tribes to sue the states if they did not negotiate
the compacts in good faith.” In 1996, the U.S. Supreme Court ruled that
Congress could not abrogate the 11th amendment sovereign immunity of
states to compel a state to negotiate a tribal gaming compact, which left the
tribe without the ability to open a gaming operation.” In 1993, the State of
Nebraska changed its constitution to allow a state gambling lottery and has
received approximately $704 million in state lottery proceeds since its
implementation.™ Tribal gaming represents a competitive threat to the
Nebraska State Lottery. In 1997, Nebraska successfully invoked its sovereign
immunity when the Santee Sioux Tribe of Nebraska tried to sue the State of
Nebraska to compel it to negotiate a gaming compact. Nebraska can now
directly protect its lottery revenues by invoking its sovercign immunity to
prevent tribes from competing with its state lottery, and thereby, protecting

® Leslie Wayne, How Delaware Thrives as a Corporate Tax Haven, N.Y. Times, June 30, 2012 at BU!
*' Indian Gaming Regulatory Act, 25 USC 2701 et. seq. (1988).

8 Id. at 25, USC 2710 (1988).

% Seminole Tribe of Florida y. Florida, 517 U.S. 44 (1996).

$" Nebraska Lottery. https://nelottery.com/homeanp/static/shared/halfbillion/index.html. (Last Visited).

December | 1, 2018.

°° Santee Sioux Tribe of Nebraska vs State of Nebraska, 12! F.3d 427 (8" Cir. 1997).

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the state’s financial interests. The State of Nebraska has never entered into a
gaming compact with a tribe under the Indian Gaming Regulatory Act and
because of it invoking sovereign immunity, the tribe cannot compel it
negotiate a compact.

b. Tobacco: In 1998, 46 states, including Nebraska, settled a lawsuit with major
tobacco companies by entering into what is called the Master Settlement
Agreement (“MSA”). The major tobacco companies agreed to pay the states
approximately $200 billion over a 25-year period of time. It required that
non-participating tobacco manufacturers had to pay into an escrow fund. The
basic purpose of the escrow fund was to create price parity for participating
and non-participating manufacturers under the MSA. The states and major
tobacco companies included tribes in the MSA without the tribe’s
acknowledgement or permission. When states passed a series of laws
attempting to impose the MSA escrow fees on tribal sales, the tribes objected
on the grounds that the state could not impose its civil regulatory authority on
tribal lands. Tribal tobacco has become a large business for some tribes
because if they do not apply the MSA escrow payments they can sell tribal
products at a competitive discount. The MSA allows the participating tobacco
companies to reduce their payments to the state based on market share. If the
tobacco companies lose one (1) percent in market share, they can reduce their
payments to the states by 3 percent. The States now have a direct financial
incentive to protect the market share of the major tobacco companies.
Recently, a tribal corporation sued the State of Nebraska to declare that the
state cannot impose its civil regulatory authority on the tribe to protect its
financial interest in the MSA.°’ The State of Nebraska filed a motion to
dismiss the lawsuit partially based on the argument that Nebraska has not
waived its sovereign immunity. Nebraska is attempting to use its sovereign
immunity to prevent the tribe from challenging the state’s imposition of the
MSA and its related regulatory scheme on the tribe. If Nebraska is successful,
they will have used their sovereign immunity to protect their regulatory
scheme and their financial interests from the payments under the MSA, which
are approximately $37 million per year.

A. In my professional opinion, this effort by Nebraska to utilize its
sovereign immunity to protect both its regulatory and financial
interests are not substantively different than what tribes are being
accused of doing with tribal lending.

Master Settlement Agreement, National Association of Attorneys General.

www .naag.org/assets/redesign/files/msa-tobacco/MSA pdf. (Last Visited Dec. 11, 2018)

®? Complaint, at 9-12, HCI Distribution, Inc., et.al., v. Peterson, et.al., No. 18-cv-173 (D.Neb. April 20,
2018), ECF No. 1.

8 Def. Br.Supp.Mot.Dismiss, at 11-12, HCI Distribution, Inc.. et.al, v. Peterson, et.al., No. 18-cv-173

(D.Neb. Aug. 15, 2018), ECF No, 28.
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K. Sovereign Immunity is partially an Economic Development and Regulatory Expansion
Tool for Tribes and Not a Method to Violate State Law.

1], Tribal sovereign immunity is a common law doctrine providing that tribes and
some tribal entilies are immune from lawsuits and quasi-judicial proceedings
without their consent or congressional waiver.

2. Tribal sovereign immunity plays a role in the economic expansion of tribal law and
tribal economies because the state cannot directly suc a tribe to stop a tribe from
using its own sovercign authority to expand its inherent right to regulate its own
economy, ’?

a. Tribe’s typically function in a state law-controlled paradigm and often are just
exempt from some aspects of state law or regulations. However, tribes are
increasingly passing their own laws and regulations. These tribal laws and
regulations are intended to bypass the state-controlled system of tribal
exemptions and replace it with a tribal regulatory system that completely
preempts state law with tribal law.’!

b. The tribe’s sovereign immunity is often critical to protecting the expansion of
tribal law and regulatory authority from state encroachment. In these
situations, tribal sovereign immunity is a critical tool of tribal economic

expansion and regulatory empowerment and not a method for violating state

law.”?

3. States have asserted their own sovereign immunity as a defense to stop tribes from
suing them, most notably when some states have claimed sovereign immunity in
response to lawsuits filed by tribes for the states failure to negotiate gaming
compacts in good faith.”

L. Revenue Sharing in Tribal/State Agreements and Compacts.

1. When tribes engage in commerce it must be remembered that they are often both a
governmental entity and a corporate entity. Being a governmental entity impacts a
tribe’s approach regarding revenue sharing when partnering with non-tribal
entities. Like most governments, tribes prefer an easy to calculate and verifiable
revenue model. It is far easier to take a percentage of gross or adjusted revenue
than it is to share a percentage of net income that can be manipulated in multiple
ways. This is especially true with tribal governments who have a long history

© Michizan vs Bay Mills Indian Community, 134 S. Ct. 2024 (2014).

Lance Morgan, The Rise of Tribes and the Fall of Federal Indian Law, 49 Ariz. St. L.J. 115, 122,
(2017).

See Id, at 121-122.

® Id. at 124, 126, 128.

™ Seminole Tribe of Florida v. Florida, 517 U.S. 44 (1996).

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being taken of advantage of financially” and still have an emerging sophistication
in most business fields. In my experience, tribes often care more about getting an
appropriate share of the financial profits without necessarily having to trust that
their business partners will not manipulate the net income of the entity.

2. Tribal/State Gaming Revenue Sharing Structures.

a. Tribal/State gaming compacts and other gaming agreements with states
sharing tribal revenue are typically based on an easy to calculate top line
metric and are rarely based on the net income of the gaming operator.”

A. The State of Michigan requires the Lac Vieux Desert Band to remit 2
percent ofits “net win” to local governments. “Net Win” is not based
on net income and is instead defined as the total amount wagered on
each electronic game of chance minus the total amount paid to
players for winning wagers.” The Lac Vieux Desert Band has paid
$8.3 million to the State of Michigan under this 2 percent provision.”’

B. The State of Michigan required Lac Vieux Desert Band to remit 8
percent of its “Net Win” to the Michigan Strategic Fund until the state
violated an exclusivity provision in 1996, “Net Win” is defined as
the total amount wagered on each electronic game of chance minus
the total amount paid to players for winning wagers.’? The Lac Vieux
Desert Band paid $4.3 million to the Michigan Strategic Fund under
this 8 percent provision.”?

3. ‘Tribal/State Energy Taxes are Generally Based on Value at the Time of Production

a. Tribes and States have dual taxation authority over non-tribal energy and
mineral extraction companies on tribal lands.*°

™ See Cobeli vs. Salazar Settlement; Claims Resolution Act of 2010, Pub. L. No. 111-291, H.R. 4783
(2010).

’> See Bureau of Indian Affairs, Office of Indian Gaming: Indian Gaming Compact Listing.
hitps:/Avww.indianaffairs.20v/as-ia/oig/gaming-compacts (last visited January 6, 2019).

"© Stipulation for Entry of Consent Judgement; Consent Judgement. Sault Ste. Marie Tribe of Chippewa,
et. al, v. John M. Engler, Governor of Michigan. Civ. No. 1:90 CV 611. P. 5-6, United States District
Court Western District of Michigan. (August 1993).

” Michigan Gaming Control Board. Tribal 2% Payments to Local Units of State Government Chart,
https://www.michigan, gov/documents/2_percent_Payments 76617 _7.pdf (2018).Last Visited January 6,
2018).

*8 Stipulation for Entry of Consent Judgement; Consent Judgement. Sault Ste. Marie Tribe of Chippewa,
et. al, v. John M. Engler, Governor of Michigan. Civ. No, 1:90 CV 611. P. 4-5, United States District
Court Western District of Michigan. (August 1993).

” Michigan Gaming Control Board. Tribal Payments to Michigan Strategic Fund. (March 29, 2018).
wwiy.mnichipan.pov/documents/mgcb/MEDC-MSF Payment Worksheet_2017-07-24 609815 7nd?"

(2018). Last visited January 6, 2018.
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% See Cotton Petroleum Corp. v New Mexico 490 U.S, 163 (1989).

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b. Both Tribes and States generally tax the actual value of the product at the time
of production. There is no consideration given to the profitability of the
underlying energy company when assessing the various severance taxes.*!

c. Tribes also enter in tax agreements with states to share the applicable energy
severance taxes. These taxes are generally based on the value at the time of

production. There is no consideration given to the underlying profitability of
the energy company when assessing the taxes.*?

4. Natural Resource Royalty Payments to Tribes are Based on the Value of the
Resource at the Time of Production

a. The federal government collected and distributed approximately $639 million
in royalty payments to tribes and tribal members in 2017, These payments
were based a percentage of the value of the resource at the time of production

and the underlying profitability of the natural resource company was not a
consideration.™

M. Revenue Sharing in the Service Agreements

1. When tribes evaluate a new business or partnership there are multiple factors to
consider, such as:

a. What is the long-term plan for the company and the tribe?

b. Does the tribe have the necessary expertise to develop and manage the
company?

c. Can the tribe develop the necessary expertise?

d. What are the both short and long-term prospects for creating employment
opportunities for tribal members?

e. Does the tribe have the necessary capital to start and grow the company?
f. How will the tribe structure its corporate entity and any partnerships?

g. What level of financial risk is the tribe willing to take?

8! See N.M. Stat. Ann. §7-29-4.1(1978).
* Oil and Gas Tax Agreement Between The Three Affiliated Tribes and State of North Dakota.

https://www.nd gov/tax/data/upfiles/media/oilgastaxagreement.pdf?2618 1028220016. (2013)
8? U.S. Department of Interior. Natural Resources Revenue Data: Revenue from Natural Resources on

Indian Land. https:/Avww.revenuedata.doi.cov/how-il-works/tribal-revenue/,
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What value-added legal, economic or regulatory activity can the tribe or the
unique tribal status bring to the business?

Will the business activity provide income to fund the tribe’s social
development goals for its membership?

2. In one of the service agreements™, the tribe received the “Tribal Net Profits”
which is “calculated by adding the sum of Gross Revenues plus bad debt
recoveries minus the sum of charge backs and bad debt charge-offs and then
multiplying the sum of this amount by two (2) percent calculated on a monthly

basis.

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3. The question a tribe would likely ask itself when deciding to enter into such a
service agreement would be:

a.

If the tribal company and the servicing company were merged into one entity,
what percent of the merged profits would the Tribal Net Profits calculation
approximate and does that percentage represent a fair portion of the merged
profits given the relative risks and value-added activities of each party?

Is it better to take an easy to calculate defined number than to be dependent
upon a net income calculation that could be manipulated?

How does the 2 percent figure compare to other types of agreements the tribe
has undertaken?

Does the return to the tribe compensate it for the amount of legal, regulatory
and economic value-added activities the tribe is dedicating to the business?

Will this model allow the tribe to develop expertise and necessary capital to
eventually no longer need an operational or financial partner?

Does this agreement help the tribe create both short and long-term
employment opportunities for its membership?

Will the expected profits positively impact the tribe’s discretionary budget?*°

How will the expected profits generated help the tribe fulfill its socio-
economic development goals?

4 Amended and Restated Servicing Agreement Between Red Rock Lending, LLC and Sourcepoint VI,
LLC, July 31, with retroactive effect to October 25, 2011.

85 Id. at 2.25,

8° A large portion of a tribal government’s budget often consists of federal funding which are often
restricted to very specific uses, A tribe can use funds generated by its business activities in a completely

discretionary manner to impact its tribal membership in a variety of methods.

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4.

In my professional opinion and for reasons further detailed in the conclusion of
this report, it would be reasonable for a tribe to consider the revenue sharing
arrangements in the Service Agreements rational and a mutually beneficial
business arrangement, especially if the profitability of the business represented a
significant percentage of a tribe’s discretionary budget.

N. Revenue Sharing in the Sales Agreement

1.

The Tribe agrecd to essentially buy out the non-tribal service company by entering
into the Sales Agreement.®’ The tribe structured the buy-out so that they would
continue to receive the 2 percent of gross revenues and eventually rising to 4
percent until the Secured Promissory Note (“Note”) associated with the buy-out
was paid off or the 7-year term of the Note expired. The Note also created a
mechanism where the tribe would gradually capitalize the entity over the term of
the Note. *

The Sales Agreement also would have resulted in the tribe maintaining a positive
cash flow stream while also reinvesting substantial amounts of tribal capital back
into the company.®? The expiration of the tribe’s debt obligation at the end of the
7-year period would have resulted in the tribal company managing all aspects of
the company and greatly increasing the tribal company’s profitability. The
increased profitability would have allowed the tribe to positively impact its overall
socio-economic development goals.

In my professional opinion and for reasons further detailed in the conclusion of
this report, it would be reasonable for a tribe to consider the revenue sharing and
the recapitalization provisions of the Sales Agreement and the term of the Note, a
rational and mutually beneficial business arrangement.

O. Tribes Consider Tribal Business as Both a Social and Economic Development Tool

Most governments in the United States do not directly develop, own and operate
the majority of large businesses in their jurisdictions. Tribal governments are
compelled to develop most of the large businesses in their jurisdiction because
they are often the only entity with the resources to develop a business in the highly
restrictive tribal environment.*? The profiis generated from the tribe’s businesses
are important to the tribe because they create discretionary income which are not
as restrictive as federal and state funding sources.

*? Agreement and Plan of Merger among LVD Tribal Acquisition Company, LLC and Bellicose Capital,
LLC and Eventide Credit Acquisitions, LLC, October 7, 2015.

88 Secured Promissory Note between Tribal Economic Development Holdings, LLC and Eventide Credit
Acquisitions, LLC., Sec. 1.2 and 1.3, January 26, 2016.

8 See Id.

»® See, Oversight Hearing on Economic Development in Indian Country: Hearing Before the Senate

Indian Affairs Comm. 109" Cong. 115-116 (2006) (statement of Lance Morgan, CEO Ho-Chunk, Inc.).

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2. In my professional experience, tribes are not motivated purely by profit
considerations. The ability of the tribal company to impact and fund the tribe’s
socio-economic goals for its memberships are primary factors in whether to invest
in or develop a tribal company.

3. The affidavits and depositions provided for my review give several examples of
the Band's goal of using the tribal lending company’s profits to help fulfill their
socio-economic goals, including the following:

a. Michelle Hazen, an elected tribal leader and lending company manager
explained in an affidavit why the Band wanted to acquire its non-tribal
partner: “After four years of operating Red Rock, LVD [the Band] had gained
considerable experience and knowledge of the online lending industry. LVD
looked to expand its online lending business to earn more money for LVD, to
employ more members and area residents, and to acquire our vendors’
business so the lending would be more profitable.””!

b. Michelle Hazen further explained in her affidavit how the profits from the
tribal lending company helped provide funding for a wide array of local tribal
government services including, “. . . housing program, the tribal court, the
tribal police department, J. VD’s new health clinic and pharmacy, member
enrollment services, family services, infrastructure, cultural and historical
preservation, education, and basic government services. . . college
scholarships .. . new vehicles for the LVD police department . . . Ojibwe
language program and other cultural programs .. . youth activities .. . and
tribal elder nutrition programs and tribal elder home care . . .”?*

c. James Williams, Jr., the Band’s elected chairman, stated in his deposition that
the Band used the profits from their lending entities to provide services to its
membership including, “. .. anew clinic which is—allows for our tribal
members to not have to go 75 to 100 miles to get services, health services. It
—social service programs, gencral welfare programs, we provide services for
our elders. .. we pay our elders monthly supplements to help them with their
bills. We provide free education for our—our students that graduate from
high school to go onto college. . .””

P. Tribes are Both Business and Government Entities Which Impacts Their Approach to
Economic Development.

| Affidavit of Michelle Hazen. Lula Williams, et al. v. Big Picture Loans, et.al. Civil Case No.
3:17cev461; no. 13, United States District Court for the Eastern District of Virginia. Richmond Division.
September 28th, 2017.

” Id. at no, 31.

*? Oral and Videotaped Deposition of James Williams, Jr., Lula Williams, et al. v. Big Picture Loans, e¢

al, Civil Case No. 3:17¢v461; p. 201, United States District Court for the Eastern District of Virginia.
Richmond Division. November 13, 2017.

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1. Tribes are following a natural progression from impoverished and unsophisticated
governments at the beginning of the Self-determination era to tribes that are
thriving and forming their own corporate entities. Tribes are doing what state
governments have been doing for decades, which is utilizing their civil regulatory
authority, sovereign immunity authority, and various federal incentive programs in
ways to create economic and legal opportunities for themselves and their business
partners.

2. While there are similarities to the state-corporate development paradigm, tribal
governments are unique in that there are hundreds of federal laws, regulations,
court decisions and treaties that apply to them almost exclusively. This
fundamental difference often creates confusion when being reviewed by non-tribal
courts systems and non-tribal governmental entities.”

a. “Outdated and inaccurate perceptions of American Indian tribes continue to
prevail in non-Indian communities and state officials may not understand that
tribes are functioning governments.””*

3. Tribes are increasingly using their inherent sovereign rights to act in their best
economic and legal interests:

a. Itis logical for a tribe to create a corporate regulatory structure to create tribal
corporations that take full advantage of being a tribe.

b. It is logical and legal for a tribe to create tribal corporate entities that enjoy
sovereign immunity as a defense because both actual and threatened litigation
can have major negative and costly impacts on tribes. Sovereign immunity is
not used to violate state laws. On the contrary, sovereign immunity is used in
conjunction with tribal law development to help protect and empower tribal
legal and regulatory expansion.

c. It is logical for a tribe to create innovative regulatory structures that
incentivize investments on the reservation.

d. It is logical for a tribe to use the Internet to expand their economy without fear
of local state enforcement efforts meant to limit and isolate tribal cconomic
growth in the E-commerce arena.

" See Kelly Croman & Johnathon Taylor, Why Beggar Thy Indian Neighbor? The Case for Primacy in
Taxation in Indian Country, Joint Occasional Papers on Native Affairs, 2016-1, p. 3-4. (2016).

°§ Susan Johnson, et al., Government to

Government: Models of Cooperation Between States and Tribes. p.1 (2009). Retrieved October 27, 2018,
from http://www.nijc.org/pdfs/TTAP/NCSLGovttoGovt. pdf.

°° Lance Morgan, The Rise of Tribes and the Fall of Federal Indian Law, 49 Ariz. St. L.J. 115, 115, 120-
122, (2017).

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4.

e. It is logical to aggressively pursue economic development initiatives because
il directly creates jobs and much needed income to fund the tribal
governmental social, educational, and development programs for its
membership.

In my professional opinion, as tribal governments and tribal corporations develop
expertise and acquire capital, they are able to sirategize and develop
comprehensive corporate and regulatory structures. This system allows for tribal
economic partnerships to be created that are designed to attract the necessary
capital and expertise to fulfill the overall socio-economic development goals of the
tribes. The evolving tribal system is a unique marriage between corporate and
government planning because the tribe controls both ends of the system. However,
this evolution is the predictable result and logical progression of almost 50 years of
the federal government pushing tribes towards self-governance, self-determination,
and creating incentives for tribes to create corporate entities. The complexity of
the tribal utilization of this emerging government/corporate development system is
a sign of growing sophistication.

Q. The Breakdown of Responsibilities in the Service Agreements and Sales Agreement
are Typical for Tribes that Have an Evolving Knowledge Base in a New Industry.

As stated previously, tribes follow an evolutionary cycle when entering into a new
industry. They create the entity, often partner with another company to help learn
the business and then generally are incentivized to completely take over a business
without any partners or with partners in limited roles.

The Band is portrayed in the lawsuit as a type of victim and was subjected to a
“rent a tribe” model. However, the Band had already created a lending business
prior to entering into the original Service Agreements.’’ The Band actively sought
out expertise to help it grow its business and develop its sophistication and was not
specifically targeted to be a “rent a tribe.” °° Bellicose and SourcePoint, the
service companies, understood it was a developmental business opportunity and
offered their expertise for a fee, which the Band agreed to presumptively to help
develop its knowledge and capital base.”

The Band regulated the tribal lending industry in its jurisdiction. The Service
Agreements acknowledged the Band’s regulation of the lending business and
required the Band’s approval of various recommendations from Bellicose VI, its

*? Affidavit of Michelle Hazen. Lula Williams. et al. v. Big Picture Loans, et al. Civil Case No.
3:17cv461; no. 5-8, United States District Court for the Eastern District of Virginia. Richmond Division.
September 28th, 2017.

°8 Jd. at no 10; Oral and Videotaped Deposition of James Dowd. Lula Williams, et al. v. Big Picture
Loans, et al. Civil Case No. 3:17cv461; p. 102-3, United States District Court for the Eastern District of
Virginia. Richmond Division. November 13, 2018.

°° See Servicing Agreements; See also, Secured Promissory Note between Tribal Economic Development
Holdings, LLC and Eventide Credit Acquisitions, LLC., January 26, 2016.

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servicing company. The affidavits of Michelle Hazen and Brian McFadden and
depositions of James Dowd and Matthew Martorello make numerous and
consistent references to the recommendation and approval process built into the
Service Agreements and Sales Agreement.

4. It is my professional opinion it makes perfect sense for the Tribe to seek
recommendations from its expert, but also incorporate a tribal approval process to
both safeguard against any poor decisions and to develop the Tribal company’s
knowledge base. In fact, using and learning from their expert partners is
referenced by tribal officials as one of the primary reasons the Tribe entered into
the Service Agreements in the first place.!” It would be illogical not to utilize
their knowledge and recommendations.

R. The Limitations on Tribal Actions in the Sales Agreement and the Secured Promissory
Note are Similar to Restrictions in other Tribal Partnering, I.ending and Bonding
Agreements.

1. The Secured Promissory Note!®! (“Note”) related to the Sales Agreement requires
various expenses come from non-affiliated entities and at reasonable market
rates.'°? The Note also requires approval from the lender for budget expenses that
are unusual or beyond the built-in five (5) percent annual escalator provision in the
Note.!%

2. Tribes exist in a highly restrictive capital environment.!™ Tribes often lack
collateral. Tribes have sovereign immunity which makes lenders nervous. Tribes
often lack business experience. Tribes also control the regulatory system and can
pass restrictive or anti-business laws. Tribes appoint the judges in their own tribal
court. Tribes can be motivated by social or political considerations, instead of
business motivations only.!® In my professional experience, these complications
combine to make any business partner and/or lender extremely reluctant to work
with tribes. This reluctance is why most lenders and business entities avoid tribal

100 See Affidavit of Michelle Hazen. Lula Williams, et al. v. Big Picture Loans, et al, Civil Case No.
3:17cv461; no. 10, United States District Court for the Eastern District of Virginia. Richmond Division.
September 28th, 2017; Oral and Videotaped Deposition of James Williams, Jr., Luta Williams, et al. v.
Big Picture Loatis, et al. Civil Case No. 3:17cv461; p. 13-15, United States District Court for the Eastern
District of Virginia. Richmond Division. November 13, 2017.

'0l See Servicing Agreements; See also, Secured Promissory Note between Tribal Economic Development
Holdings, LLC and Eventide Credit Acquisitions, LLC., January 26, 2016.

12 Td, Art. 1.2(4)(a).

103 Td, Art. 1.2(4)(b).

'4 See Oversight Hearing on Economic Development in Indian Country: Hearing Before the Senate
Indian Affairs Comm, 109" Cong. 2™ Scss. 115-116 (May 10, 2006) (statement of Lance Morgan).

'05 See Ahne Minge and Andrew Twite, The Impact of Surety Bonding on American Indian and Tribally
Owned Contractors, p. 5-10, Federal Reserve Bank of Minneapolis Community Development Report no

2014-1.
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development opportunities and is one of the primary reasons’ tribes are historically
so impoverished.

3. Ifa lender, partner or bonding company decides to move forward with a tribe, it
will often result in some limitations on capital expenditures, limitations on
expenses, limitation on vendor agreements, cross collateralization agreements,
dividend limitations, limitations on tribal regulatory fecs and limitations on tribal
taxation. These types of restrictions are common in tribal lending documents and
in any agreements with a bonding company. These lenders or bonding companies
fear that the tribe will change the rules, dividend all the moncy to themselves,
claim sovereign immunity, or that they will not get a fair hearing in the tribal court

system.

4, In my opinion, the Band would be more likely agree to the specific restrictions in
the Sales Agreements and its related Secured Promissory Note because it has
substantial experience with the business and the lender, and therefore, has a higher
confidence level the company will be successful. The Sales Agreement and Note
also creates a definitive timeline of 7 years on the business relationship, which
likely makes the restrictions more palatable because they will end at a certain

point.

5. In my professional experience, tribes do not necessarily like to operate with these
lending or bonding restrictions. However, tribes are often presented with a simple
choice of agreeing to the restrictions and hoping things develop for their economy
or refusing and continue to have their economy and membership languish in
poverty. Tribes will often agree to a variety of restrictions because they want and
need to attract investment capital in order to stimulate much needed economic

growth.

S. [tis Unreasonable to Create a Racial and Jurisdiction Hiring Standard for Tribal
Companies.

!. The Band is attempting to grow its business and still provide Job opportunities in
its jurisdiction for its membership.!°° As the Tribal lending business grew, it
expanded its on-reservation employment base and expressed its desire to create
more on-reservation job opportunities.'°’ However, the population and skill sets
are limited which required that the Band have employees in various locations.!"*

'% Oral and Vidcotaped Deposition of James Williams, Jr., Lula Williams, et al. v. Big Picture Loans, ct
al. Civil Case No. 3:17¢v461; p. 13-15, United States District Court for the Eastern District of Virginia.
Richmond Division. November 13, 2017.

107 A ffidavit of Michelle Hazen, Lula Williams, et al. y. Big Picture Loans, et al. Civil Case No.
3:17ev461; no. 13, United States District Court for the Eastern District of Virginia. Richmond Division.
September 28th, 2017.

108 fd. at 15-17, Oral and Videotaped Deposition of James Dowd. Lula Williams, et al. v. Big Picture
Loans, et al. Civil Case No. 3:17cv461; p. 102-3, United States District Court for the Eastern District of

Virginia. Richmond Division. November 13, 2018.
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a. In my experience, not having a large skilled workforce in a rural area is not
unusual and is especially problematic on tribal reservations. As CEO of the
tribal company, Ho-Chunk, Inc., | have strong social, economic and political
incentives to create job opportunities on the reservation. However, it is
difficult to staff a fast-growing company with only on-reservation
employment. Ho-Chunk, Inc., only has 140 of its approximately 1036
employees on or near the tribe’s reservation.!’ In addition, only 157 or 15
percent of the 1036 employees are Native Americans.'!°

b. Ho-Chunk, Inc. cannot find enough skilled workers on its local rural
reservation to fulfill its growth goals. However, the profits made from the off-
reservation business activities help fucl ancillary development and job
creation on the reservation. These on-reservation jobs are subsidized with off-
reservation profits and often do not require such specific skill sets, which
make them easier to staff with on-reservation employees. Therefore, strong
off-reservation development and employment is often part of an overall tribal
development strategy.

c. In addition, there are no legal requirements that a tribal company must only
hire tribal members on its reservation and the suggestion of such a
requirement would most likely be offensive to tribal governments and tribal
entities. Non-tribal companies hire any person of any race they want in any
location or jurisdiction they deem appropriate. Non-tribal companies
routinely locate or relocate in areas with the best employees or the best
economic or legal incentives.'!' Subjecting the Band’s lending company to a
standard that non-Indian companies would never be subjected to is
categorically unfair and is an almost impossible standard to achieve given the
negative social effect of the historical poverty of tribes on the skill set of the
tribal labor force. In addition, if a non-tribal company even attempted to only
hire members of only one race in one specific jurisdiction it would be illegal
on multiple grounds.

IV. CONCLUSION

1. Based on my professional experience and the reasons set forth in this opinion, the
Servicing Agreements and the Sales Agreement (collectively the “Agreements”)
are similar to other tribal corporate structures, strategies, and operational and
financial partnering relationships because of the following:

10? Memorandum Letter from Jill Meadows-Jones, Human Resources Director of Ho-Chunk, Inc., dated

Dec. 21, 20188,
Hd Id
'"! See Rethinking Property Tax Incentives for Business, Policy Focus Report/Lincoln Institute of Land

Policy. (2012),
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a. The Agreements allow the Band access to industry specific expertise and are
similar to operational structures authorized by the federal government for
tribes in gaming management contracts and government contracting
partnerships;

b. The Agreements allow the Band to access to development and on-going
capital and are similar to financial structures authorized by the federal
government in gaming management contracts, government contracting
partnerships and various tax credit development projects;

c. The revenue sharing provisions of the Agreements are based upon a relatively
easy to calculate gross revenue formula, which tribes use in a variety of
contexts, including tribal/state gaming compacts, tribal/state tax compacts,
natural resource development royalties and natural resource taxes;

d. The Agreements are structured to allow the Band to maximize the use of its
inherent civil regulatory authority to create a favorable corporate and
regulatory environment for business development and is similar to strategies
used by states to encourage investment and development;

e. The Agreements anticipate that the Band would use its inherent rights,
including sovereign immunity, to protect its economic and governmental
interests which is similar to what tribes and states do in similar contexts;

f. The term of the Sales Agreement is similar in length and financial structure to
gaming management contracts, government contracting partnerships, and
tribal tax credit funded development projects;

g. The Agreements’ partnering, regulatory, and corporate structures represent a
sophisticated tribal government and business development strategy and are the
logical culmination of the policies, statutes and regulations encouraged and
adopted by the federal government since the beginning of the Tribal Self
Determination Era.

h. The Agreements allow the Band to utilize a common business development
technique in other tribal industries, including tribal gaming and tribal
government contracting, and need to be read in conjunction with each other
with an understanding that they represent an obvious business evolutionary
strategy to eventually maximize the Band’s long-term economic and social
self-interest.

2. Based on my professional experience and the reasons set forth in this opinion, the
breakdown of responsibilities between the tribal lending entities and their business
partners involved in this case share many similarities to the breakdown of

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responsibilities between tribal businesses and their business partners in other
emerging tribal industries:

a. When tribes first entered into gaming, they often entered into gaming
management agreements with non-tribal companies. The tribes entered into
these management agreements because they lacked the necessary capital and
experience to develop their own gaming operations. The tribes delegated
almost all aspects of the management of their gaming operations to the
management company. The tribes regulated the casino and maintained
management oversight by approving of all major decisions and expenditures.
This system allowed tribes to evolve their knowledge and capital base to the
point where they rarely renewed their management agreements and took
complete control of their gaming operations.

b. When a tribal company enters into the government contracting industry, it
often lacks the past performance and financial capability to perform large
contracts. The tribal company will take advantage of one of the federal
government’s Partnering Programs, which often give large amounts of
operation control to the non-tribal partner. Once the tribe completes the
contract under the Partnering Program, it no longer requires a non-tribal
partner and will often perform the next contract on its own.

c. Due to the unique fact that tribes contro] the company, the government and the
court system, they are often subjected to highly restrictive agreements from
partners, lenders and bonding companies. These restrictive provisions protect
those willing to invest capital in Indian Country and allow the tribes some
chance of developing their economies.

d. The Band’s regulatory and approval process detailed in the Agreements
maintains ultimate tribal control and allows the Band to evolve its knowledge
base. The Band’s usage of experts for recommendations and Band approval is
reasonable and is common in the development stages of both tribal gaming
and tribal government contracting. The Band hired the service company
explicitly to bring their expertise to the Band to make those very
recommendations and it would be illogical not to utilize their expertise.

e. The Tribal lending industry is largely following the same evolutionary path as
the tribal gaming and tribal government contracting industry and evolving
down the path from partnering to complete control over its business
operations. Further, the Band’s efforts to create an economy should not be
subjected to selective and targeted attempts to delegitimize its approach to
developing its business by turning the Band’s social and economic
weaknesses against it to further a self-serving legal interest:

A. ‘The implication that a tribal company is not a legitimate company
unless it primarily hires Native Americans on its reservation is legally

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completely unsupported and likely offensive to tribes. The
implication seems calculated to delegitimize the tribal company.
Further, it ignores the real issues that historical poverty and rural
economically depressed tribal areas must confront when trying to
develop a modern workforce to fill certain jobs.

3. In my professional opinion, the Service Agreements represent a rational approach
from the Lac Vieux Desert Band’s perspective to business development because of

the following:

a. The Agreements allow the Band to utilize a common business development
technique in other tribal industries. In tribal gaming and tribal government
contracting, the tribes used their partnership relationships to gain experience
and knowledge;

b. The Service Agreements provided the Band with initial and ongoing
development capital;

c. The Service Agreements utilize partnering strategies that are consistent with
similar strategies authorized by federal law and regulation and administered
by the federal government;

d. The Service Agreements were executed pursuant to the Band’s inherent
governmental authority to develop and utilize its own tribal corporate
structure and civil regulatory system, as well as to enter into partnerships, and
benefit from sovereign immunity as a legal defense to protect the tribal
corporate entity;

e. The recommendation and approval process incorporated into the Service
Agreements is consistent with the Band’s goal of gaining knowledge by
utilizing the expertise of its servicing company.

f. The Service Agreements’ gross revenue sharing provisions are comparable to
other methods of payments and profit-sharing structures that tribes utilize in
other business and governmental contexts, including the Lac Vieux Desert
Band’s on-going payment to the State of Michigan of 2 percent of Net Win of
their gaming operation.

g. The Band can utilize the increased economic activity created by entering in
the Service Agreements to directly create job opportunities for its
membership. The Band can also use the profits generated from the expanded
lending business to create discretionary income for the tribe which can be
used to fund social programs and create additional ancillary local job

opportunities for its membership,
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4. In my professional opinion, the Sales Agreement represents a rational approach
from the Lac Vieux Desert Band’s perspective to business development because of
the following:

a, The Sales Agreement enables the Band to continue to develop its internal
expertise over a 7-year term;

b. The Note associated with the Sales Agreement and its forgivable loan
provision after the 7-year term is similar to arrangements in other tribal
development projects;

c. The Sales Agreement’s reinvestment provisions enable the Band to expand the
internal capital base of the company;

d. The Sales Agreement enables the Band to utilize its inherent advantages
related to tribal corporate structure, tribal civil regulatory system, and
sovereign immunity for economic gain;

e. The Sales Agreement’s gross revenue sharing provisions are similar to other
methods of payments and profit-sharing structures that tribes are familiar with
in other business and governmental contexts, including the Lac Vieux Desert
Band’s on-going payment to the State of Michigan of 2 percent of Net Win of
their gaming operation.

f. ‘The recommendation and approval process incorporated into the Sales
Agreement and the Note are consistent with the Band’s goal of gaining
knowledge by utilizing the expertise of its servicing company.

g. The operational restrictions incorporated into the Sales Agrcement and Note
are consistent with restrictions tribes often agree to in other partnering,
lending and bonding agreements.

h. The Sales Agreement allowed the Band to utilize a common business
development technique in other tribal industries. In tribal gaming and tribal
government contracting, the tribes used their partnership relationships to gain
experience, knowledge and capital. After gaining the necessary knowledge,
the tribes no longer needed a partner and were able to increase their
profitability by taking increased control overall all aspects of their business.
After the 7-year term of the Sales Agreement and the Note, the profitability of
the business would be increased.

A. The Sales Agreement represents the Band’s effort to manage all
aspects of its business operations without the need for a partner. This
lawsuit was filed approximately 1.5 years after the Band entered into
the 7-year Sales Agreement. The lawsuit attempts to create a static
snapshot in time of the business and was filed while Band was in

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midst of evolving into an entity that managed all aspects of its
business operations.

B. The Agreements should be read in conjunction with each other with
an understanding that they represent an obvious business evolutionary
strategy to eventually maximize the Band’s economic and social self-
interest.

i. The increased profitability at the end of the term of the Sales Agreement and
Note, would allow the Band to greatly increase public governmental services
and local job opportunities for its membership by increasing the Band’s
overall discretionary income.
V. Other Expert Testimony
A. [have not testified as an expert at a trial or deposition in the past.

VI. Disclosure of Compensation

A. $1,000 per hour.

SUBMITTED on January 10, 2019

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APPENDIX A

REFERENCE DOCUMENTS PROVIDED BY LEGAL COUNSEL

Affidavit of Brian McFadden. Lida Williams, et al. v. Big Picture Loans, et al. Civil Case No. 3:17cv46l;
United States District Court for the Eastern District of Virginia. Richmond Division. September 28th,
2017.

Affidavit of Michelle Hazen. Lula Williams, et al. v. Big Picture Loans, et al. Civil Case No. 3:1 7¢ev461;
United States District Court for the Eastern District of Virginia. Richmond Division. September 28th,

2017.
Agency Agreement between Eventide Credit Acquisitions, LLC and various lenders. February 2016,

Agrecment and Plan of Merger among LVD Tribal Acquisition Company, LLC and Bellicose Capital,
LLC and Eventide Credit Acquisitions, LLC. October 7, 2015.

Amended and Restated Servicing Agreement between Red Rock Tribal Lending, LLC and Sourcepoint
VI, LLC. July 31, 2012.

Ascension Technologies, LLC, Delegation of Authority Policy. January 22, 2016.

Class Action Complaint: Lula Williams, et al. v. Big Picture Loans, et al. Civil Case No. 3:17cv461;
United States District Court for the Eastern District of Virginia. Richmond Division. July 22, 2017.

Intertribal Servicing Agreement Between Big Picture Loans, LLC and Ascension Technologies, LLC.
January 2016.

Interim Servicing Agreement Between Big Picture Loans, LLC and Sourcepoint VI, LLC. October 2015.

Loan and Security Agreement between Tribal Economic Development Holdings, LLC and Eventide
Credit Acquisitions, LLC. October 7, 2015.

Memorandum of Law in Support of Defendant Matt Martorello’s Motion to Dismiss the Complaint
Pursuant to Fed. R. Civ. P.12. Luda Williams, et al. v. Big Picture Loans, et al. Civil Case No.
3:17cv461; United States District Court for the Eastern District of Virginia. Richmond Division.
September 29, 2017.

Memorandum Opinion. Lida Williams, et al, v. Big Picture Loans, et al, Civil Case No. 3:17cv461;
United States District Court for the Eastern District of Virginia, Richmond Division July 27, 2018.

Oral and Videotaped Deposition of Matthew Martorello. Lula Williams, et al. v. Big Picture Loans, et al.
Civil Case No. 3:17cv461; United States District Court for the Eastern District of Virginia. Richmond
Division. August 30, 2018.

Oral and Videotaped Deposition of James Dowd. Leda Williams, et al. v. Big Picture Loans, et al. Civil
Case No. 3:1 7¢v461; United States District Court for the Eastern District of Virginia. Richmond Division.

November 13, 2018.
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Oral and Videotaped Deposition of Rick Gerber. Zula Williams, et al. v. Big Picture Loans, et al. Civil
Case No. 3:17cv461; United States District Court for the Eastern District of Virginia. Richmond Division.

December 17, 2018.

Oral Deposition of Michelle Hazen. Lula Williams, et al. v. Big Picture Loans, et al. Civil Case No.
3:17cv461; United States District Court for the Eastern District of Virginia. Richmond Division. October

16, 2017.

Oral and Videotaped Deposition of James Williams, Jr., Zula Williams, et al. v. Big Picture Loans, et al.
Civil Case No. 3:17cv461; United States District Court for the Eastern District of Virginia. Richmond

Division. November 13, 2017.

Parental Guarantee and Sovereign Immunity Waiver between Eventide Credit Acquisitions, LLC and the
Tribe, TED and all Subsidiaries. October 7, 2015.

Secured Promissory Note between Tribal Economic Development Holdings, LLC and Eventide Credit
Acquisitions, LLC. January 26, 2016

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APPENDIX B

LIST OF DOCUMENTS AND PUBLICATIONS CITED IN ORDER OF APPEARANCE
This appendix includes all publications authored by me in the last 10 years.
Oversight Hearing on Economic Development in Indian Country: Hearing Before the Senate
Indian Affairs Comm. 109" Cong. 2 Sess. 115-116 (2006) (statement of Lance Morgan, Ho-
Chunk Inc).
American Indian Lawyer Training Program. Indian Tribes as Sovereign Governments: A
Sourcebook on Federal-Tribal History, Law, and Policy, American Indian Resources Institute

Press. (1991).

Stephen Cornell. The Return of the Native: American Indian Political Resurgence. Oxford
University Press. (1988).

David E. Wilkins, American Indian Politics and the American Political System. Rowman &
Littlefield Publishers, Inc. (2002).

Indian Gaming Regulatory Act, 25 USC 2701 ef. seg. (2018)

See Approved Management Contracts listing. National Indian Gaming Commission
http://www.nigc.gov/finance/approved-management-contracts.

Johnathon Taylor, A Report on the Economic, Cultural and Social Impacts of the Native 8(a)
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Owned Contractors, Federal Reserve Bank of Minneapolis Community Development Report no
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Taxation in Indian Country. Joint Occasional Papers on Native Affairs, JOPNA 2016-1, May 4,

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made-south-dakota-the-top-state-in-the-us-for-business/425661.

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card-1265.php#,

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April 20 2018), ECF No. 1.

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173 (D.Neb. Aug. 15, 2018), ECF No. 28.

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Chippewa, et. al, v. John M. Engler, Governor of Michigan. Civ. No. 1:90 CV 611. P. 5-6,
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Michigan Gaming Control Board. Tribal Payments to Michigan Strategic Fund. (March 29,
2018). https: www.michigan.gov/documents/mgcb/MEDC-MSEF_Payment_Worksheet_2017-07-
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tribes, p.1. (2009). Retrieved October 27, 2018, from
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APPENDIX C

QUALIFICATIONS OF LANCE MORGAN

PROFESSIONAL EXPERIENCE

Ho-Chunk, Inc. — Winnebago, NE 1995-Present
Chief Executive Officer and President- An international tribal conglomerate involved in
developing non-gaming aspects of the Winnebago tribal economy. One of the fastest growing
companies in the Sioux City metro area, with over 1,000 employecs and 2017 revenues of $230
million in a variety of industries including retail, hotels, construction, technology, government
contracting, and distribution.

Fredericks, Peebles & Morgan - Omaha, NE 2004 —Present
Managing Partner — Equity Partner in the largest Indian Law Firm in the country and advised
multiple tribes on a wide variety of corporate, tribal development and taxation issues. Helped
multiple tribes establish tribal corporations and advise tribal corporations on a wide variety of
corporate, tribal law and strategic issues. Offices in California, Colorado, Nebraska, South
Dakota, North Dakota, Michigan and Washington, D.C.

Arizona State Law School — Tempe, AZ 2005 — Present
Adjunct Professor- Classes taught include Federal Indian Law and Contemporary Tribal
Economic Development. Published: “The Rise of Tribes and the Fall of Federal Indian Law.”
Arizona State Law Journal, 2017

Department of the Interior — Washington, D.C. 2004 — 2005
Economic Policy Consultant- Responsible for developing an economic implementation plan for

the Department of Economic Policy for the Bureau of Indian Affairs.

Dorsey & Whitney — Minneapolis, MN 1993-1994
Associate Attorney - Worked in the Indian Law division of a national law firm. Practice areas
included gaming on Indian lands and corporate law matters.

EDUCATION

Harvard Law School
Cambridge, MA
Juris Doctor, 1993

University of Nebraska
Bachelor of Science in Economics & Business Administration, 1990

Lincoln, NE
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AWARDS & COMMENDATIONS

Chief Standing Bear Humanitarian Award, Nebraska Commission of Indian Affairs, 2011
Distinguished Alumni Speaker, Harvard Law School, 2003

Board Member, Consumer Advisory Board for the U.S. Federal Reserve Bank, 2006 to
2009

Nebraska Builder Award, University of Nebraska’s highest possible award, 2013
Advocate of the Year Award, Minority Enterprise Development, 2014

Newsmaker of the Year, Sioux City Journal, 2015

University of Nebraska, Lincoln, Commencement Speaker, 2013

Regional Small Business Person of the Year, SBA, 2010

Innovations in Government Award, Harvard University and the Ford Foundation, 2001
Harvard Honoring Nations Award, Ho-Chunk, Inc., 2000

Harvard Honoring Nations Award, Winnebago Community Development Fund, 2006
Harvard Honoring Nations Award, Ho-Chunk Village, 2015

White House Champion of Change Award, 2012

Inc. Magazine, named one of “25 Top Entrepreneurs, We Love.” 2004

People Magazinc, named one of “Most Fascinating People,” 2002

Featured in the Wall Street Journal, People Magazine, the Economist, and Fortune
Magazine

Named once of the 50 Faces of Indian Country, 2016

Travois, Economic Development Professional of the Year, 2017

SELECT SPEAKING ENGAGEMENTS

Speaker, Arizona State Law School CLE, Wiring the Rez: Innovative Strategies for
Business Development Via E-Commerce. Session: The Evolutionary Pattern of Tribal
Internet Business Partnerships. Jan. 2019.

Speaker, Arizona State Law School CLE, /maugural Tribal Government E-Commerce:
Innovating a New Geography of Indian Country. Session: Old and New Strategies of
Innovation in Tribal Economic Development. 2015

Speaker, United States Senate Committee on Indian Affairs. /nfernet Infrastructure in
Native Communities: Equal Access to E-Commerce, Jobs and the Global Marketplace.
2011

Keynote Speaker, Northern Minnesota Tribal Economic Summit, Building Business
Through Partnerships, 2011.

Traphagen Distinguish Alumni Speaker, Harvard Law School, Tribal Development, 2003
Canby Lecture, Arizona State Law School, The Rise of Tribes and the Fall of Federal
Indian Law, 2016

Hubbard Lecture, University of Nebraska and the Great Plains Art Museum, Tribal

Economics: A Dark Past and a Promising Future. 2017
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e Speaker, Harvard Project on American Indian Development, John F. Kennedy School of
Government, The Next Horizon: What Are the Looming Challenges in Building and
Exercising Self Governance? 2017
Guest Speaker, Harvard Business School, Building Sustainable Tribal Communities. 2017
Guest Speaker, University of Nebraska and the Great Plains Symposium, Celebrating the
Ho-Chunk Story. 2015

® Keynote Speaker, Nebraska Investment Finance Authority, Living Our Mission Every
Day. 2018

e Keynote Speaker, Great Plains Tribal Leaders’ Economic Development Summit, The Ho-
Chunk Economic Development Model. 2017

® Keynote Speaker, Navajo Nation Economic Summit, Building Tribal Economies, 2016

® Speaker, Arizona State Law School CLE, Sustaining the Reservation: Creating Tribal
Economies. Reservation Economic Diversification. 2014

e Speaker, United States Senate Committee on Indian Affairs. Promised Fulfilled: The Role
of the SBA 8(a) Program in Enhancing Ekeonomic Development in Indian Country. 2011

® Speaker, United States Senate Committee on Indian Affairs. Oversight Hearing on
Economic Development in Indian Country. 2006

e Speaker, University of Arizona Law School, Ali Roads lead to Chaco Canyon,
Revitalizing Trade between Tribal Nations. 2018

e Speaker, Federal Indian Bar Association, Responding to the Trump Agenda: Preserving
and Protecting our Rights in an Uncertain Time. 2018

® Video Interview, Native Nations Institute, University of Arizona, Building and Sustaining
Tribal Enterprises. 2006
Keynote Speaker, Native American Summit, State of Utah, 2010
Speaker, U.S. Department of Energy, Access to Opportunities, ’ederal Contracting Role
with Tribal Economic Development, 2017

e Speaker, National Indian Gaming Tradeshow and Convention. Pursuing Commercial
Gaming Licenses: Caveat Emptor. 2016

e Keynote Speakers, Creighton University, Mountain Plains Minority Supplier
Development Council, Opening Doors to New Horizons. 2016

PUBLICATIONS

e Lance Morgan, The Rise of Tribes and the Fall of Federal Indian Law, 49 Ariz. St. LJ.
115, (2017).

SELECT TRIBAL CORPORATE ACTIVITIES

 Tigua, Inc., developed legal structure and initial strategy for the economic development
corporation of the Ysleta Del Sur Pueblo Tribe.

* Prairie Band, L.L.C., developed legal structure and initial stralegy for the economic
development corporation for the Prairie Band Potawatomi Nation.

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Potawatomi Business Development Corporation, served as one the original board
members for the economic development corporation for the Forest County Potawatomi
Band.

Osage, LLC, developed the legal structure and initial strategy for the economic
development corporation of the Osage Nation.

Dakota Futures, Inc., served on the initial board of directors and advised on several
economic development strategies, for the economic development corporation of the Lower
Sioux Indian Community.

Chukchansi, Inc., served on their initial board and developed the initial strategy of the
economic development corporation of the Picayune Rancheria of Chukchansi Indians
Meskwaki, Inc., advised the tribe on legal structure of the development corporation of
Meskwaki Nation.

Kituwah Economic Development, L.L.C., board member for Eastern Band of Cherokee’s
economic development corporation.

Hosted and informally advised many other tribes who visited Ho-Chunk, Inc. to learn
more about tribal corporate structure, tribal strategy, tribal community development and
tribal taxation related issues.

BOARD MEMBERSHIPS

Member, Board of Directors, Casey Family Programs, 2018

Chairman, Native American Contractors Association, 2009 — 2012

Member, Executive Committee of Board of Trustees, Smithsonian’s National Museum of
the American Indian, 2013 to 2018

Chairman, Siouxland Chamber of Commerce, 2016

Member, Board of Directors, Kituwah, Economic Development, L..LC, 2018

Member, Board of Directors, Native American Bank, 2015 to present

Member, Board of Directors, Liberty National Bank, 2002 - present

Member, Board of Directors, Prairie Band, LLC, 2010 - 2015

Member, Board of Directors, Dynamic Homes., a formerly public company, 1999 - 2001
Member, Board of Directors, Potawatomi Business Development Company, 2005 -2009
Member, Board of Directors, Lower Sioux Economic Development Corp. 2009 -2011
Member, Board of Directors, Chukchansi, Inc., 2004 - 2008

Member, Nebraska Rural Development Commission 2006 — 2007

Member, Board of Directors, Little Priest Tribal College, 1997-2001

BAR ADMISSIONS

State of Minnesola, 1993 - present
Winnebago Tribe of Nebraska, 1994 - present

TRIBAL AFFLIATION

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Enrolled Member of the Winnebago Tribe of Nebraska

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